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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       )
                                               )
                                               )
v.                                             )          Case No.    22-cr-15-APM
                                               )
                                               )
                                               )
                                               )
THOMAS CALDWELL                                )
(US vs. Rhodes, III et. al)                    )


                         DEFENDANTS’ JOINT MOTION
                 TO TRANSFER VENUE OR CONTINUE TRIAL DATE


         Defendants Stewart Rhodes, Kelly Meggs, Kenneth Harrelson, Jessica Watkins, and

Thomas Caldwell hereby move this Court to transfer venue of this matter to another federal

district or to continue the trial date, currently set for September 26, 2022, on the grounds set forth

infra:

         1. The trial date for the Rhodes defendants Group 1 (“Rhodes defendants”) is currently

            set for September 26, 2022. (ECF 133). The Court has indicated, however, that jury

            selection may begin prior to the scheduled trial date.

         2. The Rhodes defendants renew their request for a change of venue in this matter or, in

            the alternative, to continue the current trial date until 2023 based upon the undeniable

            prejudice that exists in this District’s jury pool following recent congressional

            hearings. The Rhodes defendants consent to exclude all time pursuant to the Speedy

            Trial Act if the instant motion is granted.




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3. On June 9, 2022 the January 6 Select Committee of the House of Representatives

   (“the Committee”) began conducting a series of highly publicized hearings regarding

   its investigation of the events leading up to and on January 6, 2021 (“J6”). Although

   the Committee refers to these publicized proceedings as “hearings,” the reality is that

   they are not hearings at all. The Committee presents its information through a

   combination of carefully edited excerpts of recorded depositions, videos, documents,

   prepared speeches, and live witnesses. The Committee’s witnesses are asked leading

   questions or questions to which the answer is clearly already known; however, the

   Committee does not subject the witnesses to cross-examination, nor does it even

   attempt to provide mitigation, context, or other information that might produce a

   neutralized or mitigated version.

4. As of July 12, 2022 the Committee has conducted six hearings where dozens of

   witnesses testified about various aspects of J6. Prior to Tuesday’s hearing, the

   Committee hearings produced only a handful of references to the instant pending

   criminal matter and some of the Rhodes defendants; however, Tuesday’s hearing

   significantly focused on presenting evidence regarding the Oathkeepers as an

   organization and some of the Rhodes defendants specifically. At no point has the

   Committee or various media publications providing coverage of the public hearings

   stated or reinforced that the Rhodes defendants are constitutionally presumed

   innocent. These hearings – particularly the most recent one -- have caused irreparable

   harm to the ability of the Rhodes defendants to obtain a fair trial in the District.

5. Members of the Committee and witnesses have repeatedly referred to the Oath

   Keepers as “racists,” “domestic terrorists,” “white supremacists,” “extremists,” and



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   other false slurs. The Committee has falsely connected the Oath Keepers with the

   “Proud Boys,” a group highly unpopular in the District. The Rhodes defendants

   should not have to prove that they are not “white supremacists,” “racists,” “domestic

   terrorists,” etc. They should not have to prove that they did not coordinate with the

   Proud Boys defendants to “attack” the Capitol. In fact, they can’t “disprove” these

   accusations because they are unfalsifiable. The “government” extends to more than

   just the “prosecutors.” The “government,” through Congress, has been publicly

   prejudicing the Rhodes defendants for weeks, culminating in Tuesday’s hearing with

   Representative Jamie Raskin (D-Md.) claiming that the Oath Keepers are “extremists

   who promote a wide range of conspiracy theories and sought to act as a private

   paramilitary force for Donald Trump.” See Exhibit A.

6. The Committee hearings were publicly aired on nearly all major television networks

   and media outlets. Full versions of each hearing are available for around-the-clock

   consumption through a variety of online sources. Attached to this motion are the

   transcript for the July 12, 2022 hearing (Exhibit A), and press coverage as it appears

   from screenshots on an iPhone (Exhibit B), articles in the Washington Post (Exhibit

   C), and local D.C. news coverage (Exhibits D & E). Notably, the District, through

   print and television news, and WTOP radio, was saturated with the prejudicial

   assertions related to the Rhodes defendants coming out of the Committee hearings.

7. Members of the Committee and Attorney General Garland have freely admitted that

   the committee and the DOJ are following the actions of each other. On June 29th

   Rep. Adam Kinzinger (R-Il.) said on The Late Show that the Committee’s

   investigation “feeds together” with the DOJ’s investigation: “[W]e have these two



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          investigations—and again, I don’t know what Justice is doing or not doing, but

          assuming they’re investigating, we have our investigation that’s very public. This all

          kind of feeds together.”1 On June 13, 2021 Attorney General Merrick Garland told

          NPR: “I can assure you that the January 6 prosecutors are watching all the

          hearings[.]” (https://www.npr.org/2022/06/13/1104659339/the-attorney-general-and-

          federal-prosecutors-are-watching-all-of-the-jan-6-hearings).

       8. As noted above, on July 12, 2022 the Committee held a hearing that highlighted the

          Oath Keepers. According to WTOP News, during his opening remarks, Rep. Raskin

          claimed that J6 was perpetrated by “the dangerous extremists in the Oath Keepers,

          the Proud Boys and other far-right racist and white nationalist groups spoiling

          for a fight.” (https://wtop.com/social-media/2022/07/jan-6-takeaways-extremists-

          and-screaming-in-trump-meet/). Raskin claimed that the Oath Keepers had an

          “alliance” with the Proud Boys organization in relation to an “attack” on the Capitol

          on J6. See Exhibit A. Raskin compared the actions of the Oath Keepers on J6 with

          the murder of an Abolitionist’s newspaper editor in 1837. Id. Additionally, Raskin

          stated: “[W]e have only shown a small fraction of what we have found. Our

          investigation is ongoing. All of which we will disclose at a later date.” Id. Referring

          to the Oath Keepers in his closing remarks, Raskin claimed: “[N]o one mobilized

          more quickly than the dangerous extremists that we’ve looked at today.” Id.

          Notably, the Indictment in the instant case makes no claim that the Oath Keepers are

          “white supremacists,” “racists,” or “domestic extremists.” Raskin also claimed that



1
  S. Jones, “Kinzinger: Investigation by January 6 Committee and DOJ ‘All Kind of Feeds
Together,’” CNS News (June 30, 2022), https://www.cnsnews.com/article/national/susan-
jones/kinzinger-investigation-january-6-committee-and-doj-all-kind-feeds
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   the Oath Keepers and other groups were “assembl[ing] their followers for an

   insurrectionary showdown with Congress and the Vice-President.” Id. To be clear,

   the Rhodes defendants dispute Raskin’s outrageous claims. They dispute that they

   are “racists,” “white supremacists,” or “domestic extremists.” They dispute that they

   had an alliance with the Proud Boys to attack the Capitol. They dispute that there

   was a plan to attack the Capitol. They dispute that there was an “insurrection” on J6.

9. Rep. Elizabeth Cheney (R-Wy.), claimed that former President Trump “directed” an

   “armed mob,” including the Oath Keepers, to the Capitol on J6. See Exhibit A.

   Members of the Committee clearly suggested that the Oath Keepers were acting upon

   orders of President Trump, a claim not supported by discoverable evidence. At the

   first Committee hearing, Cheney suggested that the Oath Keepers were working

   under orders from former President Trump to engage in violence on J6. Alluding to

   the Oath Keepers and Proud Boys, Cheney falsely claimed: “Intelligence available

   before January 6th identified plans to “invade” the Capitol.”

   (https://www.politico.com/news/2022/06/09/liz-cheney-jan-6-committee-full-

   statement-00038730). Discovery has revealed no “plan” to “invade the Capitol.”

10. One witness at Tuesday’s hearing, Jason Van Tatenhove, a former spokesman for the

   Oath Keepers, made several false and incendiary claims regarding the organization.

   Van Tatenhove claimed that Stewart Rhodes wanted to conduct “armed revolution”

   and “spark a new civil war” on J6. See Exh. A. Further, he testified that Stewart

   Rhodes asked him to create a "deck of cards" identifying elected officials the Oath

   Keepers should “take out,” such as Hillary Clinton. Id. “They may not like to call

   themselves a militia, but they are . . . a violent militia,” Van Tatenhove warned. Id.



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   He continued: “Stewart Rhodes has drifted further . . . into the alt-right world of

   white nationalists and straight up racists.” Id. He further opined that “the Oath

   Keepers are a very dangerous organization” and that they oppose “the rule of law.”

   Id. When asked by the Committee if he ever heard Rhodes discuss committing acts

   of violence against “political leaders,” Van Tatenhove stated: “Yeah, I mean that

   went back to the beginning of my tenure.” Id. Finally, Van Tatenhove claimed that

   President Trump was “communicating, whether directly or indirectly” with Stewart

   Rhodes, suggesting that Trump and Rhodes were in simpatico on J6. Id.

11. Van Tatenhove, however, is hardly the dispassionate, unbiased and knowledgeable

   witness the Committee portrayed him as. First, Van Tatenhove has not had contact

   with Stewart Rhodes in almost five years. Accordingly, his testimony was incredibly

   misleading as he suggested that he had personal knowledge as to what Rhodes was

   thinking and planning on or about J6. Clearly inadmissible in the instant trial, Van

   Tatenhove’s claim that the Oath Keepers intended to start a “bloody revolution” on J6

   is now seared into the minds of the District’s jury pool as fact. Additionally, a two-

   minute search of his Twitter account reveals that Van Tatenhove is a staunch left-

   wing activist tied to causes such as gun control, feminism, and climate change, and

   who regularly does a “counter-culture” podcast. See

   https://mobile.twitter.com/jasontatenhove. He has freely admitted, moreover, that he

   joined the Oath Keepers as an “embedded” author to write a book about the

   organization. See The Hill, Briefing Blog (July 13, 2022)

   https://thehill.com/blogs/blog-briefing-room/3553468-who-is-oath-keepers-

   spokesperson-jason-van-tatenhove/amp/). Additionally, Van Tatenhove is currently



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   hawking an audio book he wrote about the Oath Keepers. Yet the D.C. jury pool

   knows none of this discrediting information, or even that Van Tatenhove has publicly

   claimed to have had multiple encounters with U.F.O.s.

   https://www.coloradoswitchblade.com/p/mostly-true-stories-my-own-personal#detail.

12. In addition to the highly inflammatory and prejudicial Committee hearings, other

   actions by the Government have contributed to prejudicing the jury pool. On June 22,

   2022 the Government, in a public filing, requested that defense counsel disclose their

   clients’ fundraising efforts in relation to a group called Defending the Republic. The

   Government certainly new that this filing would be cat-nip for politically-obsessed

   media, which ran stories suggesting that defense lawyers were preventing their clients

   from pleading guilty to protect high-profile attorney Sidney Powell and President

   Trump. “Prosecutors expressed concern that support from Powell’s group could give

   Oath Keepers attorneys a reason to oppose clients’ cooperation that could be

   damaging to Trump’s interests[,]” the Washington Post reported.

   (https://www.washingtonpost.com/dc-md-va/2022/06/24/oathkeepers-defense-

   funding-powell/). Accordingly, the false media narrative fueled by the Government’s

   public filing is that defense lawyers know their clients are guilty but are financially

   incentivized to protect Donald Trump’s interests.

13. Additionally, on July 8, 2022 the Government opted to publicly file their Rule 404(b)

   disclosures, (ECF 187), setting forth their incendiary, dubious spin on likely

   inadmissible evidence regarding alleged bomb recipes, grenades, and a “death list.”

   Undersigned counsel, for example, has reviewed Caldwell’s purported “death list,”

   which is not a “list” but, rather, a doodle pad where the words “death list” are written



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   separate and apart from, and in different ink than, the names of Georgia election

   workers. Rule 404(b) did not require a public filing of this information, which the

   Government apparently does not consider “highly sensitive.” Not surprisingly, the

   Washington Post ran a banner headline trumpeting the Government’s filing:

   “Alleged Oath Keeper accused of bringing explosives to D.C. on Jan. 6.” (S. Hsu,

   Wash. Post (July 8, 2022)). The public filing of 404(b) materials has added gasoline

   to the prejudicial fire coming from the Committee hearings.

14. In addition to their blatantly prejudicial hearings, the Committee has stated publicly

   that it intends to release more than a thousand transcripts of recorded interviews and

   depositions taken from witnesses during the course of its investigation. On June 21,

   2022, in United States v. Nordean, 21-cr-175 (TMK) (Proud Boys case), the

   Government agreed to a defense continuance request, stating that “[t]he release of

   these transcripts after jeopardy has attached in this case would be detrimental to all

   parties and the public interest.” (Nordean, ECF 414 at 3). While a portion of the

   transcripts to be released by the Committee will have no relevance to the Rhodes

   defendants, defense counsel predict that many transcripts will be highly relevant and

   potentially exculpatory in nature.

15. In Nordean, the Government’s filing distinguished other J6 cases by noting that the

   Proud Boys “have been uniquely featured in the hearings of the Committee.” Id. The

   Government conceded that the current atmosphere vis-à-vis the actions of the

   Committee has, to some extent, infected the jury pool: “The timing and prominence

   of the Committee’s hearings and conclusions . . . heighten the need for a rigorous voir

   dire process.” Id. (emphasis added). Without a continuance, the Government wrote,



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           “this case could find [the parties] in the unprecedented position of litigating a

           criminal trial simultaneous to the release of a Congressional report that is likely to

           include robust descriptions of the criminal conduct of the defendants.” Id. This

           “situation poses,” the Government wrote, “an even more acute problem than [Delaney

           v. United States].” Id. at 4. The Court in Nordean granted the continuance request.



                                       ARGUMENT

       In Delaney v. United States, the First Circuit held that it was an abuse of discretion for a

trial court to not grant a continuance request under similar circumstances as the instant case:

       Here the United States, through its legislative department, by means of an open
       committee hearing held shortly before the trial of a pending indictment, caused
       and stimulated this massive pre-trial publicity[.] . . . Some of the damaging
       evidence would not be admissible at the forthcoming trial[.] . . . None of the
       testimony of witnesses heard at the committee hearing ran the gauntlet of defense
       cross-examination.. . .

               If all this material had been fed to the press by the prosecuting officials of
       the Department of Justice, we think that an appellate court would have had to say
       that the denial of a longer continuance was an abuse of discretion.. . .

               But the prejudicial effect upon Delaney, in being brought to trial in the
       hostile atmosphere engendered by all this pre-trial publicity, would obviously be
       as great, whether such publicity were generated by the prosecuting officials or by
       a congressional committee hearing.

Delaney v. United States, 199 F.2d 107, 113-14 (1st Cir. 1952) (emphasis added). Defense

counsel previously indicated their preparedness to proceed to trial in September.2 However, in

light of the Court’s ruling denying the Rhodes defendants’ request for a change of venue, defense

counsel are unanimous that a trial in Washington, D.C. in the shadow of highly one-sided,



2
 Counsel for Kelly Meggs, Julia Haller, Esq. and Stanley Woodward, Esq., again note their
unavailability for a trial in September given a previously scheduled multi-defendant trial set to
begin October 3, 2022 in United States v. McCaughey, No. 21-cr-40.
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politicized Committee hearings would deprive their clients of a chance for a fair and impartial

jury.3 In particular, Tuesday’s hearing generated a mountain of prejudicial press coverage that

has served to prejudice further an already heavily-biased jury pool.4 Moreover, the Committee

will be holding an additional hearing and intends to issue a detailed report in September which,

again, will thrust J6 and the prejudicial assertions about the Oath Keepers back into the spotlight,

just before a jury is to be picked.5 Additionally, the Government’s gratuitous public filings,

which generated negative, prejudicial coverage in the Washington Post, local D.C. news, and

social media, have added to the prejudicial atmosphere.

       A trial in September, in addition to being patently unfair in light of the slandering of the

Oath Keepers as racists, white supremacists, etc., carries other risks. First, the Committee and its

findings will be heavily debated in relation to midterm elections, which practically guarantees



3
  Defense counsel disagree that the “nationally” televised J6 Committee hearings have produced
prejudice all across the country. While those who live “inside the Beltway” have been glued to
their television sets, Americans outside of D.C. have barely paid attention to the J6 hearings.
Just like the nationally televised Westminster Dog Show attracted mostly viewers who are dog
aficionados, the Committee’s hearings have been largely consumed by left-leaning, politically-
obsessed viewers who dislike former President Trump. See, e.g., Daniel Chaitan, Washington
Exam. Reporter says Democrats in Congress told her that ‘nobody gives a bleep about Jan. 6’
(Jun. 22, 2022) https://www.washingtonexaminer.com/news/reporter-congressional-democrats-
nobody-gives-bleep-jan-6 (noting that voters are not paying attention to J6 hearings).
4
 See, e.g., B. Sprunt, NPR, “Jan. 6 panel shows evidence of coordination between far-right
groups and Trump allies,” (Jul. 12, 2022) https://www.npr.org/2022/07/12/1111132464/jan-6-
hearing-recap-oath-keepers-proud-boys (repeating false claim that Oath Keepers coordinated J6
with Proud Boys); M. Pengelly, The Guardian, “Trump sought to mount ‘armed revolution’,
militia ex-spokesman says,” (Jul. 12, 2022), https://www.theguardian.com/us-
news/2022/jul/12/jan-6-hearings-trump-capitol-attack-oath-keepers-ex-spokesperson-witness; S.
Patterson & A. Corse, WSJ, “Trump spurred right-wing groups to violence on Jan. 6, committee
says,” (July 13, 2022), https://www.wsj.com/articles/tuesdays-jan-6-hearing-to-focus-on-proud-
boys-oath-keepers-11657618200.
5
  Cf. Devlin Barrett & Spencer Hsu, How the Jan. 6 Hearings could complicate the upcoming
Proud Boys trial, https://www.washingtonpost.com/national-security/2022/06/21/proud-boys-
trial-hearing-trump/ (June 21, 2022).
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that the month of September will be saturated with prejudicial news coverage of the Rhodes

defendants. Second, the Committee’s final report will be released in September just before jury

selection, guaranteeing maximum prejudice toward the defendants. Third, unlike typical cases,

juror questionnaires will be mailed to potential jurors, which in turn will lead the summoned

jurors, knowing that they will sit in the instant case, to pay closer attention to news coverage and

the Committee’s report. Fourth, as the Court has no control over members of Congress, further

Committee or other related hearings may take place during the present trial date or Congress

may selectively “leak” transcripts harmful to the Rhodes defendants during trial.

       As it currently stands, the D.C. jury pool has been fed a non-stop, steady stream of

misinformation regarding the Rhodes defendants and their character. The instant Indictment

makes no allegation that the Rhodes defendants are “racists” and “white supremacists,” yet the

“government,” through the Committee, has branded these prejudicial labels upon the defendants

by conducting biased, one-sided hearings all the while knowing that D.C. press outlets will

uncritically amplify these allegations.6 Additionally, the Committee has falsely suggested that

the Rhodes defendants intended to engage in a civil war, assassinate elected officials, and other

downright false claims.

       The tar-and-feathering of the Rhodes defendants as “racists” and “white supremacists” in

publicized hearings before Congress alone requires relief, including a venue change. While the

Committee hearings are “nationally” televised, this coverage is not affecting all Americans in the

same way. Just like statements from the Pope have much more effect on devout Catholics than



6
  The Government has charged more than 700 defendants in relation to J6 on various charges.
Incredibly, the Washington press corps hasn’t written one story favorable in relation to any J6
defendant, including Caldwell and others who have been screaming that they are innocent from
the start. Thanks to a biased press, practically everyone in D.C., without knowing any of the
facts, is convinced that the Rhodes defendants are guilty.
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non-Catholics, assertions made by an anti-Trump Committee are having a tremendous impact on

the overwhelmingly anti-Trump residents of the District. Prior polling submitted in the Rhodes

defendants’ motion to change venue demonstrates that the District’s jury pool is substantially

predisposed against the defendants. By contrast, outside of the Beltway, where politics is not all-

consuming, the hearings are having very little impact. For that reason, the Rhodes defendants

renew their request to change venue. The “government,” whether it’s “the prosecutors” or “the

Congress,” cannot affirmatively trample over the rights of the accused to a fair trial by publicly

branding the Rhodes defendants as “racists,” “white supremacists,” and other slurs, while

simultaneously making outlandish claims about the danger that this organization allegedly poses

to the District and elected officials. It is impossible for the Court to screen for this type of bias

through voir dire. Moreover, the Committee’s branding as “racists” and “white supremacists”

the defendants will result in peer-pressure on the jurors to convict. After all, what juror would

want to return to work or their family and take credit for acquitting the “white supremacists”?

       In sum, the 12 potential District jurors sitting in judgment of the Rhodes defendants will

believe, based upon the Committee hearings, government filings, and the non-stop biased press

coverage, that the defendants are racists, white supremacists, and domestic terrorists who their

lawyers are making go to trial to protect Donald Trump. The jurors will also believe that these

defendants are per se dangerous even though none of them engaged in any violent acts on J6.

       Based on the foregoing, the Defendants request that the Court grant a change of venue or,

in the alternative, grant a continuance for up to six (6) months from the current trial date, or both.




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Date: July 14, 2022                Respectfully Submitted,


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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Defendants’ Joint Motion to Continue
Transfer Venue or Continue the Trial Date was electronically filed on this 14th day of July, 2022
via ECF, with copies electronically served on counsel for the Government, Kathryn Rakoczy,
Assistant U.S. Attorney and Jeffery Nestler, Assistant U.S. Attorney.


                                                    _______/s/_______
                                                    David W. Fischer, Esq.




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